Case 6:20-cv-00729-ADA Document 40-1 Filed 04/08/21 Page 1 of 6




           EXHIBIT 7
           Case 6:20-cv-00729-ADA Document 40-1 Filed 04/08/21 Page 2 of 6



                                                                GAMES            BROWSE THESAURUS         WORD OF THE DAY   WORDS AT PLAY        LOG IN       REGISTER            SAVED WORDS


                                     SINCE 1828
                                                                           dictionary                  thesaurus




status                                    noun often attributive
                                                        ,


           Save Word                                                                                                                               WORD OF THE DAY

sta·​tus | \ ˈstā-təs        ˈsta-    \

                                                                                                                                                  brusque
                                                ,


plural  statuses
    To save    this word, you'll need
    to log in.
Definition of status                                                                                                                        See Definitions and Examples               »

1      a Log:            In
                        position   or rank in relation to others
                                                                                                                                            Get Word of the Day daily email!
                          the status of a father
       b            :relative rank in a hierarchy of prestige
                    especially high prestige
                                      :




2      :   the condition of                 a       person or thing               in       the eyes of the law
                                                                                                                                                Test Your Vocabulary
3      :   state or condition with respect to circumstances
            the status of the negotiations                                                                                                   Early Spring 2021 Words of the
                                                                                                                                                         Day Quiz

                                                                                                                                                          Which is a synonym of
                                                                                                                                                          inimitable ?
           Synonyms
                                                                                                                                                  bogus                  peerless

           More Example Sentences                                                                                                               meritless                tangible


           Learn More about status                                                                                                                        Test your knowledge - and Learn More from M-W
                                                                                                                                                          maybe learn something
                                                                                                                                                          along the way.
                                                                                                                                                          TAKE THE QUIZ
Synonyms for status
Synonyms                                                                                                                                                  A daily challenge for
                                                                                                                                                          crossword fanatics.
ball game deal footing picture posture scene situation story
                         ,       ,                  ,                ,                 ,         ,          ,
                                                                                                                                                          TAKE THE QUIZ

                                                                                                                                                                                           Set your young
    Visit the Thesaurus for More                                                                                                                                                           readers up for
                                                                                                                                                                                           lifelong success

Examples of status in                                       a    Sentence
     They want to maintain the city's status as a major tourist attraction.
     He wants to improve his status in the community.

    See More




Recent Examples on the Web
  Mandeville’s age, date of birth and bond status were not immediately available.
— Michael Ruiz, Fox News "Secret Service arrests Oregon man who accused of assaulting Swiss
                                                ,

ambassador, breaking into residence," 31 Mar. 2021
     All   fans must also adhere to the mask mandate, regardless of their vaccination
status     .


— Ivan Pereira, ABC News "MSG, Barclays Center welcoming fully vaccinated fans back, other
                                                ,

businesses likely to follow," 31 Mar. 2021

These example sentences are selected automatically from various online news sources to reflect current usage of
the word 'status.' Views expressed in the examples do not represent the opinion of Merriam-Webster or its editors.
Send us feedback             .




    See More



First Known Use of status
1767,          in       the meaning defined                     at       sense   2
        Case 6:20-cv-00729-ADA Document 40-1 Filed 04/08/21 Page 3 of 6



History and Etymology for status
Latin — more        at   state




Learn More about status
Share status                                                   Time Traveler for status
                                                                     The first known use of status
                                                                     was in 1767
                                                               See more words from the same year


Dictionary Entries near status                                 Phrases Related to status
statu-quo-ite                                                  marital status
stature                                                        status symbol
statured                                                       the status quo
status
status in quo
status offender
status quo

    See More Nearby Entries



Statistics for status                                          Cite this Entry
Last Updated                                                   “Status.” Merriam-Webster.com Dictionary   ,


4 Apr 2021                                                     Merriam-Webster, https://www.merriam-
                                                               webster.com/dictionary/status. Accessed
Look-up Popularity                                             7 Apr. 2021.
Top 1% of words
                                                                Style: MLA




More Definitions for status
status             noun

English Language Learners Definition of status
:the position or rank of someone or something when compared to others                        in a
society, organization, group, etc.
:   high position or rank        in   society
:   the official position of      a   person or thing according to the law

See the    full   definition for status         in   the English Language Learners Dictionary
                Case 6:20-cv-00729-ADA Document 40-1 Filed 04/08/21 Page 4 of 6




status                             noun
sta·​tus                 |    \   ˈstā-təs       ,   ˈsta-    \


Kids Definition of status
1           :   position or rank of a person or thing
                 Ilost my status as an amateur.
2           :   state of affairs situation   :

                 What is the patient's medical status                     ?




status                             noun
sta·​tus | \ ˈstāt-əs                            ,   ˈstat-       \

plural statuses
Medical Definition of status
:   a       particular state or condition
        a    patient's neurological status




status                             noun
sta·​tus                 |    \   ˈstā-təs, ˈsta-             \


Legal Definition of status
1           a        :       the condition of          a    person or a thing in the eyes of the law
            b        :       position or rank          in    relation to others
2           :   the current state of affairs

History and Etymology for status
Latin, mode or condition of being, from stare to stand




More from Merriam-Webster on status
Thesaurus: All synonyms and antonyms for status
Nglish: Translation of status for Spanish Speakers
Britannica English: Translation of status for Arabic Speakers


Comments on status
What made you want to look up status ? Please tell us where you read or heard                          it
(including the quote, if possible).

    Show Comments




                                                                  Love words? Need even more definitions?
                             Subscribe to America's largest dictionary and get thousands more definitions and advanced search—ad free!
   Case 6:20-cv-00729-ADA Document 40-1 Filed 04/08/21 Page 5 of 6



                                                          Merriam-Webster       unabridged




                                                                  Words      at Play




  Words We're Watching:                The Piratical History of                 The Words of the Week       -      'Vaxication': All   I   Ever
    (Figurative) 'Super-                     'Filibuster'                              4/2/2021                            Wanted
         Spreader'                     It   won't take long to read               Words from the week of        For those who get the shot and
 They can spread more than                                                               4/2/2021                             go.
          disease



                                                                  Ask the Editors




'All Intensive Purposes' or          'Nip   it   in the butt' or 'Nip   it               Literally               Is Singular 'They' a Better
'All Intents and Purposes'?                       in the bud'?                    How to use a word that                   Choice?
We're intent on clearing   it   up    We're gonna stop you right                (literally) drives some pe...    The awkward case of 'his or
                                                there                                                                       her'



                                                                   Word Games




Early Spring 2021 Words of           Advanced Vocabulary Quiz                          True or False?           Word Winder's CrossWinder
       the Day Quiz                    Tough words and tougher                  Test your knowledge - and         A game of winding words.
A new challenger approaches.                 competition.                       maybe learn something a...
                                                  Take the quiz                         Take the quiz                   Play the game
        Take the quiz




                    Learn a new word every day.
                    Delivered to your inbox!



                    LEARNER'S ESL DICTIONARY
                    VISUAL DICTIONARY
                    SCRABBLE ® WORD FINDER

                    MERRIAM-WEBSTER'S UNABRIDGED DICTIONARY
                    BRITANNICA ENGLISH - ARABIC TRANSLATION
                    NGLISH - SPANISH-ENGLISH TRANSLATION
Case 6:20-cv-00729-ADA Document 40-1 Filed 04/08/21 Page 6 of 6




          Browse the Dictionary:   a b c d      e   f   g h   i   j   k   l   m   n   o    p q   r   s   t   u   v w   x   y   z 0-9

     Home      Help     Apps    About Us   Shop     Advertising Info   Dictionary API     Contact Us    Join MWU    Videos
  Word of the Year     Puku    Vocabulary Resources     Law Dictionary     Medical Dictionary    Privacy Policy  Terms of Use
                                                       Do Not Sell My Info

                      Browse the Thesaurus     Browse the Medical Dictionary              Browse the Legal Dictionary
                                                © 2021 Merriam-Webster, Incorporated
